Case 2:20-cv-11718-GAD-DRG ECF No. 43-12, PagelD.1023 Filed 01/31/22 PaO TBIT 8

 

From: Margit Chadwell

Sent: Wednesday, December 5, 2018 1:40 PM
To: Nikolina Camaj

Subject: Re: Follow Up - A. Eid

Thank you very much Nikolina,
Margit

Sent from my iPhone

> On Dec 5, 2018, at 12:05 PM, Nikolina Camaj <nikolinacamaj@wayne.edu> wrote:

>

> Hi Margit,

>

> As the previous complaint was investigated and required no further action, our office has no previous conduct history
to report in reference to Anthony Eid.

>

> Anthony and | reviewed all of the evidence (text messages, complaint report, etc.) and he is fully aware of the
complaint made against him by former WSU student i J Anthony was further informed of my role as the
investigator and that the matter would be referred to the School of Medicine to be handled through the Professionalism
process,

>

> Please feel free to contact me if you should have any further questions regarding the investigation conducted.

>

> Kind Regards,

> Nikolina

>

> Nikolina Camaj, M.Ed.

> Associate Director and Student Conduct Officer Dean of Students Office

> | Wayne State University

> 316 Student Center | 5221 Gullen Mall, Detroit MI 48202 Office

> 313-577-8063 | nikolinacamaj@wayne.edu

>

> Dean of Students Office (DOSO) | Wayne State University

> (313) 577-1010 | doso.wayne.edu

>

>

>

> -—---Original Message-----

> From: Margit Chadwell

> Sent: Wednesday, December 5, 2018 10:49 AM

> To: Nikolina Camaj <nikolinacamaj@wayne.edu>

> Subject: RE: WSU Dean of Students Office Official Notification

> (Anthony Eid)

>

> Thank you very much Nikolina, the report will be further handled through the Professionalism process here at the
School of Medicine. For completeness, can you provide the complaint and finding of the earlier complaint this year
against Anthony Eid?

> Sincerely,

WSU / Eid 000340
Case 2:20-cv-11718-GAD-DRG ECF No. 43-12, PagelD.1024

>

> Margit Chadwell, MD, FAAFP

> Associate Dean of Student Affairs and Career Development Wayne State
> University School of Medicine

> 315 Mazurek Education Commons

> 540 E. Canfield, Detroit, Ml 48201

> Ph: 313-577-1463 Fax: 313-577-0361

> --~— Original Message—--

> From: Nikolina Camaj (via Maxient) <q

> Sent: Tuesday, December 4, 2018 5:01 PM

> To: Margit Chadwell <mchadwel@med.wayne.edu>

> Subject: WSU Dean of Students Office Official Notification (Anthony

> Eid)

>

> You have been carbon copied on a letter for case 2018039001 (Anthony Eid).

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> Please review the PDF attachment and retain a copy for your files. If you encounter difficulty opening this file, please

contact our office.
>
>
>

WSU / Eid 000341
